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                                MINUTE ORDER


   CASE NUMBER:           1:23-cv-00464-LEK-RT
   CASE NAME:             State of Hawai'i, Ex. Rel. Anne E. Lopez, Attorney General v.
                          CaremarkPCS Health, L.L.C. et al


        JUDGE:      Leslie E. Kobayashi         DATE:            01/24/2025


  COURT ACTION: EO: COURT ORDER DENYING WITHOUT PREJUDICE
  DEFENDANTS' MOTION TO DISMISS PLAINTIFF'S SECOND AMENDED
  COMPLAINT

        On November 27, 2024, Plaintiff State of Hawai`i, by and through Anne E. Lopez,
  Attorney General ("the State") filed its redacted Second Amended Complaint and its
  Renewed Motion to Remand ("Motion to Remand"). [Dkt. nos. 166, 167.] The Motion to
  Remand is scheduled for hearing on February 28, 2025. See Minute Order - EO: Court
  Oder Setting Briefing Schedule, 12/3/24 (dkt. no. 170).

         On January 22, 2025, Defendants CaremarkPCS Health, L.L.C. ("Caremark"),
  Express Scripts, Inc. ("Express Scripts"), and OptumRx, Inc. ("OptumRx" and
  collectively "Defendants") filed their Motion to Dismiss Plaintiffs' Second Amended
  Complaint ("Motion to Dismiss"). [Dkt. no. 174.] Defendants' Motion to Dismiss is
  DENIED WITHOUT PREJUDICE to the filing of a new motion to dismiss if the Motion
  to Remand is denied.

         If the Motion to Remand is denied, the order will include a deadline by which
  Defendants must respond to the Second Amended Complaint. In other words, Defendants
  are not required to answer the Second Amended Complaint while the Motion to Remand
  is pending.

        IT IS SO ORDERED.



  Submitted by: Carla Cortez, Courtroom Manager
